99 F.3d 101
    Arthur K. GOLDSTEIN, Plaintiff-Appellant,v.GROUP INSURANCE PLAN FOR ADMINISTRATIVE AND MANAGEMENTEMPLOYEES OF FAIRCHILD REPUBLIC COMPANY, FARMINGDALEFACILITY;  Fairchild Industries Pension &amp; RetirementCommittee, as Plan Fiduciary and as Plan Administrator;John Doe and Jane Doe, as members of the FairchildIndustries Pension &amp; Retirement Committee;  Connecticut LifeInsurance Co.;  Fairchild Industries, Inc., Defendants-Appellees.
    No. 97, Docket 96-7083.
    United States Court of Appeals,Second Circuit.
    Argued Oct. 15, 1996.Decided Nov. 4, 1996.
    
      Edgar Pauk, Legal Services for the Elderly, New York City (Robert L. Liebross, Denver, CO, on the brief), for plaintiff-appellant.
      David W. Silverman, New City, NY (Christopher P. Tirro, Granik Silverman, New City, NY; Ann K. Kandel, Hauppauge, NY, on the brief), for defendants-appellees.
      Before NEWMAN, Chief Judge, CARDAMONE and McLAUGHLIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal concerns a claim under the Employee Retirement Income Security Act, 29 U.S.C. § 1001 et seq.  (1994), against the claimant's former employer, Fairchild Industries, Inc.  ("Fairchild"), and the administrator of Fairchild's employee welfare benefit plan, Connecticut General Life Insurance Company ("CIGNA").  Arthur Goldstein appeals from the December 29, 1995, judgment of the United States District Court for the Eastern District of New York (John Gleeson, Judge) denying, on motion for summary judgment, his claim for benefits.  After an earlier order by Judge Platt dismissing CIGNA as a party, Judge Gleeson ruled that Goldstein was not entitled to benefits because his active service had ended by reason of a layoff, rather than his alleged disability.  Goldstein v. Group Insurance Plan for Admin. and Mgmt. Employees of Fairchild Republic Company, 940 F.Supp. 474 (E.D.N.Y.1995).
    
    
      2
      Goldstein appeals from both rulings.  We affirm the judgment on Judge Gleeson's comprehensive opinion.  To the extent that Goldstein seeks review of the dismissal of CIGNA, that issue is moot in light of Judge Gleeson's ruling.
    
    